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            EXHIBIT D
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 WSOU INVESTMENTS, LLC D/B/A                  §
 BRAZOS LICENSING AND                         §       CIVIL ACTION 6:20-cv-00572-ADA
 DEVELOPMENT,                                 §
           Plaintiff,                         §
 v.                                           §
                                              §
 GOOGLE LLC,                                  §
          Defendant.                          §


                      WSOU’S FIRST SET OF INTERROGATORIES

        Pursuant to the Federal Rules of Civil Procedure, the Order Governing Proceeding in this
Case, and the schedule the parties agreed to in this case, Plaintiff WSOU Investments, LLC d/b/a
Brazos Licensing and Development (“WSOU”) requests that Defendant Google LLC answer each
of the following Interrogatories under oath in the manner and within the time prescribed by law.
                                         DEFINITIONS

        1.     The terms “DEFENDANT,” “YOUR,” and “YOU” as used herein shall refer to
Defendant Google LLC as well as any parent, subsidiary, division, or related company, any
business entity controlled by or operated on behalf thereof, any predecessors thereof, and any and
all agents, directors, owners, officers, attorneys, employees, representatives, subcontractors,
and/or any PERSON acting on its behalf.

        2.     The term “PLAINTIFF” as used herein shall refer to Plaintiff WSOU Investments,
LLC d/b/a Brazos Licensing as well as any parent, subsidiary, division, or related company, any
business entity controlled by or operated on behalf thereof, any predecessors thereof, and any and
all agents, directors, owners, officers, attorneys, employees, representatives, subcontractors,
and/or any PERSON acting on their behalf.

         3.     The phrase “ACCUSED INSTRUMENTALITY” refers to the instrumentalities
identified in the complaint (as may be amended) as well as the infringement contentions served in
this case (as may be amended).

        4.      The term “PATENT-IN-SUIT” as used herein means the patent asserted in the
present litigation.

        5.    The phrase “PRIOR ART” as used herein means any printed publication, any public
use, any public knowledge, any sale, or any patent for sale anywhere in the world which YOU
believe may be material to the validity of the PATENT-IN-SUIT.



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                                     INTERROGATORIES

INTERROGATORY NO. 1:

        For the ACCUSED INSTRUMENTALITY, identify each version made, imported, used,
sold, offered for sale, provided, supported, or caused to be provided by or on behalf of YOU,
including the identification of the beginning and end dates during which each version of the
ACCUSED INSTRUMENTALITY was made, imported, used, sold, offered for sale, provided,
supported, or caused to be provided along with the DOCUMENTS used to develop YOUR
response.

       YOUR answer should use the format of the following exemplary table:
       Accused                Version                Dates                 Bates Number
    Instrumentality




INTERROGATORY NO. 2:

        Separately for each version of the ACCUSED INSTRUMENTALITY, identify two key
individuals responsible for the design or development of the following features or functionality of
the ACCUSED INSTRUMENTALITY: (a) the architecture; (b) data flow; (c) the provision of any
service or features utilizing the technology; and (d) software associated therewith. For the purposes
of this Interrogatory, the term “identify” requires you to state for each individual identified: the
name and title of individual; the person’s current contact information (i.e., address, telephone
number, e-mail, etc.); the nature of the work performed on the ACCUSED INSTRUMENTALITY;
a detailed description of the feature or functionality for each ACCUSED INSTRUMENTALITY
for which the person was responsible; and the date(s) of each such person’s involvement.


INTERROGATORY NO. 3:

        Separately for each asserted claim of the PATENT-IN-SUIT and each version of the
ACCUSED INSTRUMENTALITY, IDENTIFY and describe your non-infringement assertion,
argument or contention and all facts and DOCUMENTS that support or refute such an assertion.
In answering this interrogatory, you must IDENTIFY any assertion that YOU may present in any
dispositive or non-dispositive motion brought in this matter, that YOU may present at trial in this
matter, and/or that YOU may rely upon for any other purpose in this matter. YOUR answer should
include an IDENTIFICATION of the date YOU first formed each such belief, the IDENTITY of
all persons who have that belief (including the date each such person formed such belief), and an
identification by Bates number of any DOCUMENTS that relate to, support, or refute YOUR
answer.



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INTERROGATORY NO. 4:

       For each version of the ACCUSED INSTRUMENTALITY, please IDENTIFY all ways in
which YOU derived or will derive revenue along with any DOCUMENTS used to develop your
response and revenue, profit, and costs associated with each ACCUSED INSTRUMENTALITY.

INTERROGATORY NO. 5:

        Describe in detail the location and format in which YOU maintain and/or store documents
and/or information related to the structure, components, function, and operation of each version of
the ACCUSED INSTRUMENTALITY including, but not limited to, software, source code
(including all versions or releases), firmware, schematic diagrams, manufacturing specifications,
technical specifications, hardware description documents, software or firmware description
documents, functional description documents, engineering drawings or blue prints, operating
manuals, and/or user manuals relating to the technology and identify each employee (other than
counsel) knowledgeable of the same, including for each person identified, their title, address,
telephone number, and a fair summary of the substance of that person’s areas of knowledge
regarding the ACCUSED INSTRUMENTALITY.

INTERROGATORY NO. 6:

         IDENTIFY by Bates number and describe all licenses, settlement agreements, or
covenants-not-to-sue, technology transfer agreements or any other agreements or contracts
providing any rights to patents or technologies entered into by YOU, or of which YOU are aware,
that (i) relates to the functions and features set forth in PLAINTIFFS’ infringement contentions or
technology that is similar to such functions and features, or (ii) relates to a potential comparable
license in a damage analysis in this case.


INTERROGATORY NO. 7:

        Describe the circumstances of how YOU became aware of the PATENT-IN-SUIT,
including an identification of all persons that became aware of the PATENT-IN-SUIT to the filing
of the present complaint, when each person became aware of the PATENT-IN-SUIT patents, and
how each person became aware of the PATENT-IN-SUIT.


Date: March 29, 2021                          Respectfully submitted,

                                      By:    /s/ Ryan S. Loveless
                                             James L. Etheridge
                                             Texas Bar No. 24059147
                                             Ryan S. Loveless
                                             Texas Bar No. 24036997
                                             Brett A. Mangrum
                                             Texas Bar No. 24065671

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                                          Attorneys for Plaintiff WSOU Investments, LLC
                                          d/b/a Brazos Licensing and Development

                              CERTIFICATE OF SERVICE

       I certify that on March 29, 2021 a true and correct copy of the foregoing document was
served upon all counsel of record via email under this Court’s Local Rules.

                                                  /s/ Ryan S. Loveless
                                                  Ryan S. Loveless




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